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                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA


                                       CRIMINAL MINUTES

 Date: November 21, 2022        Time: 8:00 – 8:14; 9:28 –        Judge: YVONNE GONZALEZ ROGERS
                                11:00; 11:20 – 1:30; 1:45 - 3:04; 3:15 –
                                4:09
 Case No.: 21-cr-00429-         Case Name: UNITED STATES v. Ray J. Garcia
 YGR-1

Attorney for Plaintiff: Molly Priedeman, Andrew Paulson
Attorney for Defendant: James Reilly

  Deputy Clerk: Aris Garcia                         Reported by: Pamela Hebel



                                          PROCEEDINGS
Jury Selection – HELD

See attached.
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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA

Case No: 21-cr-00429-YGR-1
Case Name: USAv. Garcia

                          TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                        PLAINTIFF ATTORNEY:               DEFENSE ATTORNEY:
 Yvonne Gonzalez Rogers        AUSA Molly Priedeman, AUSA        James Reilly
                               Andrew Paulson
 TRIAL DATE:                   REPORTER(S):                      CLERK:
 11/21/2022,                   Pamela Hebel                      Aris Garcia

 PLF DEF DATE/TIME
 NO. NO. OFFERED    ID            REC   DESCRIPTION                                        BY
         11/21/2022                     Court Reporter: Pamela Hebel
             8:00 a.m.                  Case Called. Administrative discussion with
                                        parties
             8:14 a.m.                  Recess
             9:28 a.m.                  Jury Panel enters. 22 jurors enter Courtroom
             9:40 a.m.                  Court voir dire panel of 14 jurors
             10:53 a.m.                 Jurors in the box recessed until 12:30. Jurors
                                        not in the box recess for 30 minutes. Private
                                        discussions held with select perspective jurors.
             11:00 a.m.                 Recess
             11:20 p.m.                 Back on the record.
             11:20 a.m.                 Court voir dire panel of 8 jurors
             12:05 p.m.                 Jury Panel enters. 29 jurors enter the
                                        Courtroom
             1:18 p.m.                  Jury Panel on recess. Private discussions with
                                        selected jurors.
             1:30 p.m.                  Recess
             1:45 p.m.                  Government voir dire of 1st panel of jurors
             1:52 p.m.                  Defense counsel voir dire of 1st panel of jurors
             2:06 p.m.                  Government coir dire juror of 2nd panel of
                                        jurors
             2:15 p.m.                  Defense counsel voir dire of 2nd panel of jurors
             2:20 p.m.                  Court voir dire of panel of 11 jurors
             2:45 p.m.                  Government counsel voir dire of panel of 11
                                        jurors
             2:52 p.m.                  Defense counsel voir dire of panel of 11 jurors
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 2:55 p.m.                Jurors recess private discussion with selected
                          jurors.
 3:00 p.m.                Discussion with counsel
 3:04 p.m.                Recess
 3:15 p.m.                Back on the record. Discussion with Counsel
                          re for cause challenges.
 3:30 p.m.                Jurors enter Courtroom. 12 jurors and 4
                          alternates sworn
 4:09 p.m.                Recess for the day
